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                              Policy Prohibiting Weapons in the Workplace




               To help ensure a safe workplace, employees shall be prohibited from carrying or bringing
               any weapon to the workplace. This applies to all employees except law enforcement.

               Regardless of whether an employeepossesses a concealed weaponspermit (CWP),
               employees are prohibited from carrying or bringing any weapon to the work site or any
                    property.

              · Weapons include, but are not limited, to guns, lmives, explosives, and any chemical
                whose purpose is to cause harm to another person.

               Any employee who is uncertain whether an instrument or device is prohibited under this
               policy is obligatedto request clarificationfrom the Executive Director to insure the
               employee is not in violation of this policy.

               Employees who violate this policy may be subject to disciplinaryaction, up to and
               including termination.

               2016
               2017
               2018




                                                                                   Program B Decl., Ex. 3
